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 4
     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        [PROPOSED] ORDER CONTINUING
12        v.                       )        STATUS CONFERENCE
                                   )
13   Philip Jesse Garcia, et al.   )
                                   )
14                                 )        Date:    9/5/08
               Defendants.         )        Time:    9:00 a.m.
15   ______________________________)        Judge:   Hon. Garland E.
                                                     Burrell
16

17        IT IS HEREBY stipulated between the United States of America

18   through its undersigned counsel, Michael M. Beckwith, Assistant

19   United States Attorney, together with counsel for defendant David

20   Forkner, John R. Manning Esq., counsel for defendant Philip Jesse

21   Garcia, Hayes H. Gable III Esq., counsel for defendant Loretta

22   Leigh Canham, Dennis S. Waks Esq., and counsel for defendant

23   Steven Lynn Talbot, William E. Bonham Esq., that the status

24   conference presently set for September 5, 2008 be continued to

25   October 17, 2008, at 9:00 a.m., thus vacating the presently set

26   status conference.   This matter involves a      wire intercept on

27   several telephones and related pen registers.        The government has

28   notified the defense that approximately 1000 plus pages of
                                        1
           Case 2:08-cr-00363-WBS Document 45 Filed 09/09/08 Page 2 of 3


 1   discovery are forthcoming.

 2        It is further stipulated that the time between September 5,

 3   2008 and October 17, 2008 can appropriately be excluded from the

 4   Speedy Trial Act pursuant to 18 USC § 3161(h)(8)(B)(ii)(Local

 5   Code T-2) and 18 USC § 3161(h)(8)(B)(iv)(Local T-4).

 6   IT IS SO STIPULATED.

 7   Dated: August 28, 2008                     /s/ John R. Manning
                                              JOHN R. MANNING
 8                                            Attorney for Defendant
                                              David Robbie Forkner
 9
     Dated: August 28, 2008                   /s/ Hayes H. Gable III
10                                          HAYES H. GABLE III
                                            Attorney for Defendant
11                                          Philip Jesse Garcia

12   Dated: August 28, 2008                   /s/ Dennis S. Waks
                                            DENNIS S. WAKS
13                                          Attorney for Defendant
                                            Loretta Leigh Canham
14
     Dated: August 28, 2008                    /s/ William E. Bonham
15                                            WILLIAM E. BONHAM
                                              Attorney for Defendant
16                                            Steven Lynn Talbot

17

18   Dated: August 28, 2008                   McGREGOR W. SCOTT
                                              United States Attorney
19

20                                      by:     /s/ Michael M. Beckwith
                                              MICHAEL M. BECKWITH
21                                            Assistant U.S. Attorney

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              Case 2:08-cr-00363-WBS Document 45 Filed 09/09/08 Page 3 of 3


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 2
                        IN THE UNITED STATES DISTRICT COURT
 3
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 4

 5
     UNITED STATES OF AMERICA,             ) Case No. CR.S 08-363 GEB
 6                                         )
                        Plaintiff,         )
 7                                         )
          v.                               ) [PROPOSED] ORDER TO
 8                                         ) CONTINUE STATUS CONFERENCE
     Philip Jesse Garcia, et al.,          )
 9                                         )
                                           )
10                  Defendants.            )
     _______________________________
11

12        GOOD CAUSE APPEARING, it is hereby ordered that the

13   September 5, 2008 status conference be continued to October 17,

14   2008 at 9:00 a.m.      I find that the ends of justice warrant an

15   exclusion of time and that the defendant’s need for continuity of

16   counsel and reasonable time for effective preparation exceeds the

17   public interest in a trial within 70 days.          THEREFORE IT IS

18   FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. §

19   3161(h)(8)(B)(ii)(Local Code T-2) and 18 U.S.C. §

20   3161(h)(8)(B)(iv)(Local Code T-4) from the date of this order to

21   October 17, 2008.

22

23   IT IS SO ORDERED.

24   Dated:    September 8, 2008
25

26                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
27

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